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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                 MIAMI DIVISION

                                                       CASE NO.:

  RYAN MAUNES MAGLANA, on
  his own behalf and as a class
  representative of all other similarly
  situated    Filipino    crewmembers
  trapped aboard CELEBRITY cruise
  vessels,

           Plaintiffs,
                                                                                 CLASS ACTION &
  v                                                                                DEMAND FOR
                                                                                   JURY TRIAL
  CELEBRITY CRUISES INC.,

        Defendant.
  ______________________________/

      VERIFIED1 COMPLAINT FOR EMERGENCY INJUNCTIVE RELIEF & DAMAGES

           Plaintiff, RYAN MAUNES MAGLANA, on his own behalf and on behalf of all

  other similarly situated Filipino crewmembers trapped onboard CELEBRITY cruise

  vessels (hereinafter “PLAINTIFFS”) through undersigned counsel hereby sue Defendant,

  CELEBRITY CRUISES INC. (hereinafter “CELEBRITY”), and allege:

                                            JURISDICTION AND PARTIES

           1.       This case arises out of Defendant’s systemic, companywide discriminatory

  treatment of its Filipino employees in violation of federal and applicable state civil rights




  1
   Plaintiff is waiting for the executed verification page but has not received it at the time this document was filed
  with the Court due to Plaintiff’s presence on Defendant’s ship. It is anticipated that it will be received before the nd
  of the day and will be filed immediately upon receipt.
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  laws, including but not limited to under Title VII of the Civil Rights Act of 1964 ("Title

  VII"), 42 U.S.C. § 2000e et seq. prohibiting discrimination on the basis of national origin

  in employment. However, at the time this submission was filed with the Court, Plaintiffs

  have submitted charges to the EEOC, but have not yet received the “Right to Sue” Notice

  from the Equal Employment Opportunity Commission (hereinafter “EEOC”) due to the

  agency’s decision to suspend the issuance of notices indefinitely due to the Coronavirus

  pandemic. Plaintiffs concede that this may render Defendant’s discriminatory conduct

  not ripe for adjudication for the time being but respectfully submit to the Court that the

  interests of justice demand a remedy for individuals who are suffering discrimination

  and the exigent circumstances involved in this crisis provide ample support for the Court

  to enter relief in their favor.

         2.      Plaintiff, RYAN MAUNES MAGLANA, is a citizen of the Philippines and

  employee of Defendant on its vessel the Millennium. Plaintiff MAGLANA was an

  employee of Defendant CELEBRITY for over 14 years and during his most recent contract

  of employment with Defendant was employed as a Beverage Controller onboard the

  Millennium.

         3.      Defendant, CELEBRITY CRUISES INC., is a foreign entity which conducts

  its business from its principal place of business in Miami, Florida.

         4.      This court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331 and 1343 because this action is brought under Title VII of the Civil Rights

  Act of 1964 ("Title VII"), 42 U.S.C. § 2000e et seq. prohibiting discrimination in

  employment on the basis of national origin.

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           5.      In the alternative, Plaintiffs allege that this Court has original subject matter

  jurisdiction pursuant to 28 U.S.C. § 1333 under the Court’s admiralty jurisdiction.

           6.      The causes of action asserted in this Complaint arise under the General

  Maritime Law of the United States and/or the Jones Act 46 U.S.C. Section 30104 and 46

  U.S.C. Section 10313. The claims exceed the jurisdictional amount of this court, exclusive

  of interest and costs. This controversy is a class action brought under Federal Rule of Civil

  Procedure 23 and pursuant to 28 U.S.C § 1332(d)(2) in addition to Federal Rule of Civil

  Procedure 65.

           7.      Defendant, CELEBRITY, at all times material, personally or through an

  agent:

                a. Operated, conducted, engaged in or carried out a business venture in this

                   state and/or county and/or had an office or agency in this state and/or

                   county;

                b. Was engaged in substantial business activity within this state;

                c. Operated vessels in the waters of this state;

                d. Committed one or more of the acts stated in Florida Statutes, Sections

                   48.081, 48.181 or 48.193; and/or

                e. The acts of Defendant set out in this Complaint occurred in whole or in part

                   in this county and/or state.

           8.      Defendant is subject to the jurisdiction of the Courts of this state.

           9.      At all times material hereto, Defendant owned, operated, managed,

  maintained and/or controlled a fleet of cruise ships, including the cruise vessel Celebrity
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  Millennium where Plaintiff MAGLANA is currently held captive in addition to and

  thirteen (13) sister cruise ships and expedition ships in its worldwide fleet, including in

  no specific order, the: Silhouette, Apex, Solstice, Summit, Eclipse, Equinox, Edge, Infinity,

  Reflection, Constellation, Flor2, Expedition3, and Exploration4.

            10.   At all times material hereto, Defendant operated the vessels in navigable

  waters.

            11.   At all times material hereto, the Celebrity Millennium and Eclipse were

  docked at the port in San Diego, California, and subject to the jurisdiction of the US

  federal courts, but at all times material, the vessel was operational and capable of

  navigation.

            12.   At all times material hereto, Defendant's base of operations and corporate

  headquarters are located in Miami, Florida.

            13.   At all times material hereto, Plaintiffs were “seamen” aboard their

  respective vessel to which they were assigned by Defendant to work, as the term

  “seamen” is defined under U.S. General Maritime Law and/or the Jones Act, 46 U.S.C. §

  30104.

            14.   “Seamen from the start were wards of admiralty.” U.S. Bulk Carriers, Inc. v.

  Arguelles, 400 U.S. 351, 355 (1971) (citing Robertson v. Baldwin, 165 U.S. 275, 287 (1897)). In

  1823, Justice Story declared: “Every Court should watch with jealousy an encroachment




       These ships are smaller “expedition” class ships which Celebrity uses for voyages
  2, 2 ,3

  to ecologic sanctuaries such as the Galapagos Islands.


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  upon the rights of a seaman, because they are unprotected and need counsel; because

  they are thoughtless and require indulgence; because they are credulous and complying;

  and are easily overreached. But Courts of maritime law have been in the constant habit

  of extending towards them a peculiar, protecting favor and guardianship. They are

  emphatically the wards of the admiralty.” Harden v. Gordon, 11 Fed. Cas. 480 (No. 6047)

  (C.C. Me 1823). “From the earliest times maritime nations have recognized that unique

  hazards, emphasized by unusual tenure and control, attend the work of seafarer.” See

  Aguilar v. Standard Oil Co. of New Jersey, 318 U.S. 724, 727 (1943). The Aguilar Court further

  held: “the restrictions which accompany living aboard ship for long periods at a time

  combine with the constant shuttling between unfamiliar ports to deprive the seaman of

  the comforts and opportunities for leisure, essential for living and working that

  accompany most land occupations.” Id. at 728.

         15.     In Chandris, Inc. v. Latsis, the U.S. Supreme Court reaffirmed the longstanding

  principle that seafarers are wards of Admiralty Courts, given the “feature of the maritime

  law that compensate[es] or offset[s] the special hazards and disadvantages to which they

  who go down to sea in ships are subjected.” 515 U.S. 347, 355 (1995). The Fifth Circuit Court

  of Appeals explained the rationale for affording seafarers special protections in Castillo v.

  Spiliada Maritime Corp.,: “[Seafarers] enjoy this status because they occupy a unique position.

  A seaman isolated on a ship on the high seas is often vulnerable to the exploitation of his

  employer. Moreover, there exists a great inequality in bargaining position between large

  ship-owners and unsophisticated seafarer. Shipowners generally control the availability

  and terms of employment.” 937 F.2d 240, 243 (5th Cir. 1991) (emphasis added).

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         16.     Accordingly, the Admiralty Courts have a rich tradition of protecting

  seafarers, which flows from the uniquely abhorrent conditions seafarers face at sea. And

  it is not just the Courts which recognize the need to protect seafarers, as “[t]he policy of

  Congress, as evidenced by its’ legislation, has been to deal with [seafarers] as a favored

  class.” Bainbridge v. Merchants' & Miners' Transp. Co., 287 U.S. 278 (1932).

         17.     Plaintiffs including class representative MAGLANA and his fellow Filipino

  class members worked for Defendant aboard Defendant’s vessels, were employees of

  Defendant until it unilaterally terminated their contracts at various points in time since the

  CDC’s March 14th no-sail Order and stopped paying agreed upon wages shortly thereafter.

                     ALLEGATIONS COMMON TO ALL COUNTS
       PERTAINING TO DEFENDANT’S TORTIOUS CONDUCT WHICH VIOLATES U.S.
  GENERAL MARITIME LAW, THE JONES ACT AND THE CIVIL RIGHTS ACTS OF 1964 & 1961

         18.     The basis of the class action stems from Defendant CELEBRITY’s callous

  and inhumane business decision to keep crew members from specific countries trapped

  on board its passenger-less ships with no wages and no hopes of going home to family

  members in need, including infants, children, and elderly parents.

         19.     Despite having actual knowledge that the CDC had issued a no sail order

  as early as March 14, 2020 and the supplemental orders issued thereafter have prohibited

  cruise ships from operating in US waters through at least midsummer, a date which

  remains at risk to be delayed even further.

         20.     In fact, the Millennium where Plaintiff MAGLANA is currently being held

  captive has been without passengers since February 10th, 2020, nearly 100 days ago.



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         21.     At that time, only Vietnam and Singapore would agree to allow the ship to

  dock at their respective ports after rejections at Hong Kong and Thailand. The ship stayed

  in Singapore after disembarking its last passengers on February 10th until February 14th,

  when the vessel departed from Singapore and sailed east to Manila, arriving in the

  Philippine capital on February 19th, 2020.

         22.     At the time, many of the vessel’s Filipino seafarers were excited at the

  prospect of returning to their home country and hopeful that they would be allowed to

  return home if the company was going to cancel cruises.

         23.     Unfortunately, the excitement was short lived and left just as quickly as it

  came. Less than twenty-four (24) hours after arriving in Manila Bay, PLAINTIFFS

  onboard the Millennium were cruelly taken from Manila in what felt like moments the

  ship’s Filipino seafarers eager to return home to their loved ones.

         24.     The only crewmembers that were allowed to disembark for repatriation

  were those that both had concluded their contracts and had a suitable replacement

  onboard.

         25.     CELEBRITY, apparently oblivious to the media frenzy that was beginning

  across the globe which had begun to focus on the cruise lines collective role in facilitating

  the virus’s spread, and the ancillary fact that ships in its fleet, Millennium included, had

  already been passenger-less for close to 10 days.

         26.     The ship’s remaining Filipino crew were prevented from disembarking the

  ship despite the obvious writing on the wall that the cruise lines would not be sailing

  with passengers for the foreseeable future.

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         27.     Despite the pleas of crewmembers on board to be allowed to disembark in

  their home port of Manila, Celebrity elected to refuel the Millennium and continue

  eastward to the western U.S. seaboard after a stop in Honolulu. The stop in Honolulu on

  March 1st came and went but the company was still reluctant to make a final decision to

  repatriate its crew, so the vessel sailed on eastward. Finally, the ship arrived in Ensenada,

  Baja California in Mexico on March 11, 2020.

         28.     In the interim, on March 13th, 2020, Royal Caribbean, CELEBRITY's parent

  company, suspended all of its future cruises, including those associated with its

  subsidiary companies, such as CELEBRITY. The following day, on or about March 14,

  2020, the CDC issued its first No Sail Order.

         29.     Thus, without any doubt whatsoever, Defendant CELEBRITY knew that

  passenger cruises in the U.S. would be canceled until the C.D.C.’s No Sail Order is lifted,

  eventually.

         30.     Nonetheless, after 64 days since the C.D.C. issued the first no-sail order

  back on March 14th, the Millennium holds nearly 1000 Filipino crew members on board.

  Upon information and belief, there are at least 1700 Filipino seafarers being held captive

  throughout CELEBRITY’s fleet, and nearly 7,000 between those employed by Royal

  Caribbean Cruise Line, Azamara Cruise Line, Celebrity Cruise Line, and the other minor

  subsidiary brands owned by the Royal Caribbean/Celebrity holding entity.

         31.     The ship departed Ensenada 8 days later on March 19, 2020. Before leaving

  Ensenada, some crewmembers were allowed to disembark and sign-off. Many of the



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  Filipino seafarers sought leave to sign off the ship at that point, but were denied

  permission due to the “lack of a replacement.”

           32.   The ship finally arrived at San Diego on March 20, 2020, which is also where

  it is currently located and his been at all times material other than a brief trip for

  provisions in late March.

           33.   Upon information and belief, will remain there until the CDC rescinds its

  no-sail order as the vessel is scheduled to sail on Alaskan and Pacific Northwest

  itineraries in the second half of 2020.

           34.   Defendant’s failure to repatriate its Filipino seafarers unfortunately is not

  the extent of its unscrupulous conduct. In addition to holding its crewmembers hostage,

  against their will, and with little or no payment of wages, the Defendant has engaged in

  a campaign of disinformation and deception in an effort to avoid mutiny or rebellion on

  board.

           35.   Plaintiff MAGLANA has been held without wages since his contract was

  terminated by Defendant on March 30th, nearly 7 weeks ago. He was advised when he

  was terminated that he would be repatriated on April 1, 2020, in accordance with the

  terms of the Collective Bargaining Agreement (hereinafter “CBA”), negotiated between

  Defendant and a “union” which it established in Italy for the purposes of claiming that

  the CBA was collectively bargained for.

           36.   Nonetheless, even though it would be bound by a contract and CBA which

  is the product of its own collective-bargaining with an “adversarial” union led by an

  agent which it appointed and requires its crew members to join, Defendant still ignored

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  the requirement to repatriate crew within 24 hours of their contract being terminated or

  voided as expressly required by their “collectively bargained” agreement, which merely

  recites the requirements espoused in the Maritime Labor Convention of 2006.

         37.     Plaintiff MAGLANA was told his April 2st flight had been rescheduled to

  April 8h, then the 16th, and 26th, 28th, and the 11th/12th May tentatively, so on and so forth.

  Not surprisingly, these too were all canceled.

         38.     But why would the cruise lines, and specifically Defendant delay

  repatriation of its crew? The answer, as is usually the case with the cruise industry, comes

  down to dollars and cents: profits are far more important than a replaceable crewmember

  and if someone doesn’t like it, there’s an eager replacement that will gladly accept an

  offer to work on a ship that would pay them over $1200 a month for 75 hours of work per

  work week as an average for 6-9 months.

         39.     As has been the case since at least April 23rd, the CDC has not only allowed

  cruise line crew repatriations from seaports in the U.S., they have provided the cruise

  lines with a detailed protocol of how to do it to avoid and legal consequences:

         CDC is allowing crew members to disembark from cruise ships in U.S.
         waters and return home if cruise lines submit a signed attestation stating
         that they have complied with requirements to safely disembark their
         crew members. . . CDC shared information with all cruise lines in US waters
         on April 23, 2020, to help crew members return home safely. 5

         40.     The CDC’s position on repatriation was public knowledge shortly after the




  5CDC Guidelines for Disembarkation of Crew published on April 23, 2020.
  https://www.cdc.gov/coronavirus/2019-ncov/travelers/cruise-ship/cruise-ship-
  member-disembarkations.html
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  agency published the conditions on its website and providing them to national media. As

  was the basis for the cruise lines’ decision to delay repatriation as long as possible because

  of the associated costs to repatriate their replaceable crew members that did not fall in

  line with the company’s take it or leave it offer.

         41.     Knowing the consequences that would arise due to its unjustified wholesale

  breach of the CBA which it created, rather than admit the error of its ways, CELEBRITY

  through its corporate directors and its parent corporation which owns it the CELEBRITY

  subsidiary outright, elected to concoct a narrative that claimed that the repatriations were

  being prevented by the CDC as if they actually believed the rouse would work.

         42.     Whether because it was oblivious or intentionally deceiving its crew, the

  fabricated narrative was soon exposed when the CDC revealed that ships in the US or

  within its territorial waters had been given the green-light to repatriate the crewmembers

  in their fleets so long as Defendant agreed to abide by precautionary compliance

  measures that were non-negotiable due to the history of the cruise lines in making big

  promises with little to show for it.

         43.     As recently as May 1st, there were reports of ship captains in the fleet RCL

  Ltd Fleet, including its subsidiary brands such as but not limited to Celebrity.

         44.     On board ships in the Royal Caribbean fleet, within the same cruise

  conglomerate, audio records capture the corporate deception straight from the mouth of

  their vessel masters, including onboard the Oasis, Anthem and Symphony of the Seas. After

  local media published a story which revealed the extent of the rouse, ship captains

  shamelessly denied the stories and instead, continued to fabricate tall tales.

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         45.     In fact, according to the Master of the Oasis of the Seas “’[i]n regards to what

  was in the Miami Herald the other day [about economics being the cause of the delay,

  not the CDC], well, that is one of those things that is not true at all,’ said the captain [ ] in

  an announcement Friday.” Similarly, according to the Master of the Symphony of the Seas

  “’[f]irst of all, I’d like to just address the Miami Herald article that came out yesterday,”

  said the captain on the Symphony of the Seas. He joked that the only way to comply with

  the CDC guidelines is for American crew to walk home, citing a requirement that crew

  not interact with the public on their journey home.’”

         46.     Most damning of all though, was the commentary of the Master of the

  Anthem of the Seas who shamelessly lied to the crew and stated:

          ‘There was one article today we all read and we raised that question today
         in a conference call which says that CDC and cruise lines did not come with
         an agreement because it’s too expensive,’ said the captain on the Anthem
         of the Seas Friday. ‘That is absolute false. The money has nothing to do with
         it. It is absolutely not the money that we are concerned. The money is not
         the issue.’”6

         47.     In reality though, subsequent statements of the company’s corporate

  officers show beyond a doubt that the company was intentionally lying to crew. Days

  after the May 1st report of the Masters’ fabrications and misrepresentations, RCCL CEO

  went on record and stated “he hopes the threat of criminal prosecution will be removed.




  6 Miami Herald article “Royal Caribbean false blames CDC for keeping crew trapped on
  its ships, agency says” dated May 1, 2020
  https://www.miamiherald.com/news/business/tourism-cruises/article242443236.html
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  . . ‘we have decided that the importance of getting [crew] home is so great that we will

  sign these documents as they are written today to help get you off the ships.’”7

         48.     Since those May 3rd promises were memorialized in print, over two weeks

  have come and gone, yet thousands of crew members remain captive on board the ships

  they previously served on, with no wages, and growing more desperate by the day.




         49.     There have been hunger strikes on the Navigator of the Seas “[a]t this

  moment, we feel that we’re all hostages,’ said one crew member, who asked not to be

  named for fear the company will retaliate and delay repatriation. ‘This company needs

  to understand we are not boxes of food that can be moved around.’”; heart wrenching




  7Miami Herald article “ Royal Caribbean executives agree to the CDC’s terms for
  disembarking   crew      stuck    on     ships”    dated     May     3,   2020
  https://www.miamiherald.com/news/business/tourism-cruises/article242471226.html
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  cries for help and multiple suicides. 8

         50.     Without a doubt, we are witnessing a human rights tragedy of immense

  proportions unfold before our very eyes. But unlike in the past, Defendant CELEBRITY

  and its colleagues in the cruise ship cartel cannot hide behind the lawless open oceans

  where many of their misdeeds are typically swept away with the current.

         51.     This time tough, CELEBRITY’s unscrupulous, discriminatory and illegal

  actions are not transpiring on the open ocean thousands of leagues from the nearest

  point of land. This time, the world is watching, the nation is watching, and a failure to act

  and fight for what is right will not go unnoticed. We are all witnesses.

                                  CLASS ACTION ALLEGATIONS

         32.     At all times material hereto, Plaintiffs, the Class Representative and Class

  Members herein, are and/or were crewmembers who worked for Defendant aboard

  Defendant’s vessels and who are Filipino nationals.

         33.     This action is brought by Plaintiff MAGLANA on his own behalf, and

  pursuant to Fed. R. Civ. P. 23(b)(1-3) he seeks to represent a worldwide class consisting

  of:

         All other similarly situated Filipino crewmembers who worked aboard
         Defendant’s cruise vessels who remain captive aboard vessels in
         Defendant’s fleet, and are being subjected to the dangerous conditions
         outlined above in connection with Defendant’s callous and unreasonable
         failure to repatriate its crewmembers upon its unilateral decision to
         terminate their contracts and entitlement to wages.



  Miami Herald article “ Royal Caribbean crew go on hunger strike until company
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  proves it is sending them home” dated May 8, 2020
   https://www.miamiherald.com/news/business/tourism-cruises/article242595896.html
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           34.   Plaintiff reserves the right to seek to represent sub-classes of the world-wide

  class.

           36.   Numerosity-- The exact number of members of the class is unknown at this

  time given that many members are currently in voluntary or forced isolation aboard

  Defendant’s vessels; however, at this time it is estimated that there are in excess of over

  1700 members. The class is so numerous that joinder would be impracticable. Thus, this

  action satisfies the requirements of Rule 23(a)(1).

           37.   Commonality— There are common questions of law and fact that relate to

  and effect the rights of each member of the class and the relief sought is common to the

  entire class. The same misconduct on the part of Defendant, CELEBRTIY, caused the same

  or similar injury to each class member. All class members seek damages and equitable

  relief in the form of a mandatory injunction as described in ¶¶ 1, 4, and 6 above and

  accordingly, this action satisfies the requirement of Rule 23(a)(2).

           38.   Typicality-- The claims of Plaintiffs are typical of the claims of the class, in

  that the claims of all members of the class, including the named Plaintiff, depend upon a

  virtually identical showing of the acts and omissions of Defendant, CELEBRITY, giving

  rise to the right of Plaintiff to the relief sought herein. Defendant, CELEBRITY, was at all

  times material hereto engaged in the same conduct to the detriment of the entire class of

  Plaintiffs. Accordingly, this action satisfies the requirements of Rule 23(a)(3).

           40.   Adequacy of Representation— Plaintiff is the representative party for the class,

  and is able to, and will, fairly and adequately protect the interests of the class. Plaintiff

  MAGLANA is an adequate representative of the class because: (1) he is willing and able

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  to represent the proposed class and has every incentive to pursue this action to a

  successful conclusion; (2) his interests are not in any way antagonistic to those of the other

  class members; and (3) is represented by counsel experienced in litigating claims under

  the General Maritime Law of the United States in addition to the statutory modifications

  and amendments enacted by Congress. Accordingly, this action satisfies the requirement

  of Rule 23(a)(4).

            41.   Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(1). Class

  action status is appropriate under Fed. R. Civ. P. 23(b)(1) because in light of the number

  of Filipino employees that are currently being held against their will by Defendant,

  adjudication of Plaintiff MAGLANA’s prayer for a mandatory injunction would be

  dispositive of the their legal right to be repatriated in accordance with U.S. and

  International maritime law.

            42.   Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(2). Class

  action status is appropriate under Fed. R. Civ. P. 23(b)(2) because CELEBRITY has acted

  and/or refused to act on grounds generally applicable to the class, thereby making final

  injunctive relief appropriate. Such generally applicable grounds consist of the repatriation

  of its shipboard employees to their country of residence, the Philippines, in accordance

  with U.S. and International Maritime law. This relief would predominate over monetary

  relief.

            14.   Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(3). This

   action is properly maintained as a class action under Rule 23(b)(3) inasmuch as

   questions of law and fact common to the members of the class predominate over any

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   questions affecting only individual members, and a class action is superior to the other

   available methods for the fair and efficient adjudication of this controversy. In support

   of the foregoing, Plaintiffs allege that common issues predominate and can be

   determined on a class-wide basis regarding Defendant, CELEBRITY’s violation of

   Plaintiffs rights to be repatriated after their contracts end or the ships they are in service

   to become unseaworthy, in view of Defendant’s callous disregard for the wellbeing of

   its employees who are not able to disembark Defendant’s ships due to the Coronavirus

   and their only vehicle of repatriation is by virtue of charter flights home which

   Defendant has determined is of greater concern than the well-being and rights of its

   employees.

         43.     A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy because it is unlikely that individual plaintiffs would

  assume the burden and the cost of this complex litigation, and Plaintiff is not aware of

  any class members who are interested in individually controlling the prosecution of a

  separate action. The interests of justice will be served by resolving the common disputes

  of the class members with Defendant, CELEBRITY, in a single forum, and individual

  actions by class members, all of whom are citizens of the Philippines would be cost

  prohibitive. The class consists of a finite and identifiable number of individuals which

  will make the matter manageable as a class action.

         43.     CELEBRITY and many of the Plaintiffs herein have entered into

  employment contracts and/or Collective Bargaining Agreement’s (“CBAs”), which call

  for arbitration of employment-related disputes between CELEBRITY and the respective

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  seafarers. However, no arbitration provision in any of the Plaintiffs’ employment

  contracts and/or CBAs with CELEBRITY expressly call for arbitration of class action

  employment-related claims, nor contemplate claims for equitable relief and mandatory

  injunctions.

         44.     Aggrieved parties cannot be forced to submit class action disputes to

  arbitration unless there is a contractual basis for concluding that the aggrieved parties

  agreed to do so. Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684-87 (2010) (“[A]

  party may not be compelled under the FAA to submit to class arbitration unless there is a

  contractual basis for concluding that the party agreed to do so . . . An implicit agreement

  to authorize class-action arbitration, however, is not a term that the arbitrator may infer

  solely from the fact of the parties’ agreement to arbitrate. . . class-action arbitration changes

  the nature of arbitration to such a degree that it cannot be presumed the parties consented

  to it by simply agreeing to submit their disputes to an arbitrator.”) (emphasis in original).

         45.     Here, because there is no contractual provision in any written agreement

  between Plaintiffs and CELEBRITY to submit employment-related class action disputes

  involving prayers for equitable relief to arbitration. Thus, Plaintiffs’ Class Action lawsuit

  filed in this Court is proper. See id.

                       EXHASUTION OF ADMINSTRATIVE REMEDIES

         46.     As referenced above, Plaintiffs have not received the Right to Sue notice

  from the EEOC at this time because the agency has issued a moratorium on them until

  further notice when the virus’s impact on the ability to resume normal operations is better

  known. Plaintiff’s EEOC Charge Filing No. is 510-2020-03917

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                               COUNT I
   PRELIMINARY MANDATORY INJUNCTION REQUIRING REPATRIATION OF
                DEFENDANT’S FILIPPINO CREWMEMBERS
                     [CLASS & INDIVIDUAL CLAIM]

         47.     PLAINTIFFS restate and reallege the allegations contained in paragraphs 1

  through 45 above as if fully set forth herein.

         48.     PLAINTIFFS and members of the class are employees of Defendant

  CELEBRITY within the meaning of 42 U.S.C. § 2000(e) et seq., and Fed. R. Civ. P. 23. In

  the alternative, should the Court determine that PLAINTIFFS are precluded from seeking

  relief under Title VII, PLAINTIFFS submit that their class nonetheless satisfies the

  requirements of Fed. R. Civ. P. 23 regardless of Title VII as their class nonetheless

  comports with the prescriptions of Fed. R. Civ. P. 23(a) and (b)(1-3).

         49.     CELEBRITY has adopted and/or maintained subjective employment

  practices, including but not limited to, subjective and disparate practices for complying

  with their legal obligations to repatriate employees that are not earning wages based

  exclusively on their national origins because, on information and belief, the larger the

  number of individuals from a specific national original, the higher the cost for Defendant

  to comply with its obligations under maritime law to repatriate its crew, and accordingly,

  continue to “schedule” repatriation trips on a nearly weekly basis, all of which have been

  “canceled” due to the fabricated narrative that the CDC is prohibiting repatriation.

         50.     PLAINTIFFS will suffer irreparable harm if Defendant continues to

  perpetually delay its obligations under International maritime law (IMO procedures

  relating to the Maritime Labor Convention) and U.S. General Maritime law which the

  U.S. Coast Guard has determined to be consistent with U.S. General Maritime law and
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  requires ships flying a U.S. flag to comply with “NVIC 02-13 uses a Statement of

  Voluntary Compliance (SOVC) and a Declaration of Voluntary Compliance to mirror the

  MLC and the DMLC of the MLC, 2006. The U.S. Coast Guard was extremely meticulous

  in following the letter of the MLC, 2006 for one principal reason: the ‘no more favourable

  (sic) treatment’ clause contained in Article V, paragraph 7 [of the Maritime Labor

  Convention of 2006]. See U.S. Coast Guard’s Circular dated January 6, 2017 implementing

  the MLC’s Repatriation requirements for attached as Exhibit “A”.

         51.      Specifically, PLAINTIFFS have been, and continue to be, irreparably

  harmed by CELEBRITY’s failure to repatriate them which includes, but is not limited to:

               a) mental anguish and emotional distress caused by the discriminatory
                  treatment they have suffered on the basis of their national origins;

               b) multiple suicides;

               c) inability to provide for dependents, including children and parents;

               d) continued potential exposure to the COVID-19 causing coronavirus which
                  has infected well over five million people across the world and killed over
                  300 thousand; and

               e) inability to earn wages from an alternative source of employment in light
                  of CELEBRITY’s decision to terminate their contracts.

         52.      PLAINTIFFS have no adequate remedy of law that would serve to

  immediately enjoin Defendants continued and unlawful violation of PLAINTIFFS’ basic

  human rights and their rights to earn wages or be repatriated to care for their loves ones

  and dependents.

         53.      PLAINTIFFS have a substantial likelihood of success on the merits on its

  claims for false imprisonment and discrimination under Title VII of the U.S. Code which


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  provides for damages for emotional distress in addition to the damages that are

  customarily seen in actions for tort under the General Maritime law of the United States.

         54.     The entry of a preliminary injunction will serve the public interest by

  effectuating the important policy concerns of Title VII preventing workplace

  discrimination on the basis of national origin, amongst others, in addition to reinforcing

  Defendant’s apparent inability or unwillingness to comprehend that no person or

  corporation is above the law.

         55.     PLAINTIFFS have a clear legal right to the relief sought herein.

        WHEREFORE, PLAINTIFFS pray that:


         1)      The Court maintains this matter as a class action on behalf of the
                 proposed worldwide class, that Plaintiff be designated as
                 representative of the class that their counsel of record be designated
                 as Class Counsel;

         2)      That the Court enter an injunction against Defendant CELEBRITY
                 Ordering it to repatriate its Filipino seafarers that are not being paid
                 wages and are being held against their will aboard ships in
                 CELEBRITY’s fleet;

         3)      That judgement be entered in favor of Plaintiffs and the members of
                 the class set forth herein, and against Defendant, for back pay
                 (including interest or an appropriate inflation factor), front pay,
                 benefits and all other amounts owed to Plaintiffs and the members of
                 the class;

         4)      That the Plaintiffs be awarded costs, including but not limited to,
                 attorneys’ fees, experts’ fees, and other costs and expenses of this
                 litigation, and pray for such other relief in equity which this Court
                 deems just and proper.

         5)      That the Court retain jurisdiction over Defendant until such time as
                 it is satisfied that it has remedied the practices complained of and it
                 determined to be in full compliance with the law.

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                                      COUNT II
                    INTENTIONAL TORT OF FALSE IMPRISONMENT
                            [CLASS & INDIVIDUAL CLAIM]

         56.     PLAINTIFFS restate and reallege the allegations contained in paragraphs 1

  through 45 above as if fully set forth herein.

         57.     At all times material Defendant CELEBRITY intentionally caused the

  Plaintiffs to be held captive against their will with no wages or ability to leave the ship

  due to Defendant’s election to ignore and violate their legal obligations under the laws of

  this country, the laws of the flag states of the various ships, and the laws of Liberia where

  CELEBRITY’s parent corporation RCL is based.

         58.     The restraint of the Filipino seafarer PLAINTIFFS as a class, and PLAINTFF

  MAGLANA as Class Representative and/or individual, was done against PLAINTIFFS’

  collective will through acts directly and in a natural and continuous sequence to produce

  or contribute substantially to producing the unjustified and intentional restraint of the

  class as a whole, so that it can be reasonably said that, but for those acts of CELEBRITY,

  the seemingly perpetual restraint/imprisonment would not have occurred, by confining

  the Plaintiffs to a perpetual confinement on its ships for reasons unknown to Plaintiffs

  but clearly in violation on US and International law.

         59.     As a result of the Defendant CELEBRITY's false imprisonment of the

  Plaintiffs, they were physically and emotionally injured about their bodies and

  extremities, suffered physical pain, mental anguish, loss of enjoyment of life,

  disability, disfigurement, aggravation of any previously existing conditions

  therefrom, incurred medical expenses in the care and treatment of plaintiffs injuries,
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  suffered physical handicap, lost wages and their working ability has been impaired in

  the future. The injuries are permanent or continuing in nature, and Plaintiff will suffer

  the losses and impairments in the future. In addition, plaintiff lost the benefit of

  plaintiffs vacation, cruise, and transportation costs.

         Wherefore, the plaintiffs demands judgment for all damages recoverable under

  the law against the Defendant CELEBRITY, including compensatory damages, costs,

  including attorneys’ fees and experts’ fees, punitive damages based on the intentional

  nature of CELEBRITY’s conduct to the maximum extent allowed under the law, and

  demands trial by jury, and for any other relief the Court dete4rmines reasonable and just.

                              COUNT III
     EMPLOYMENT DISCRIMINATION ON THE BASIS OF NATIONAL ORIGIN
                     [CLASS & INDIVIDUAL CLAIM]

         60.     PLAINTIFFS restate and reallege the allegations contained in above

  Paragraphs 1 through 45 of this Complaint as though set forth here in full.

         61.     Plaintiff and members of the class are employees of CELEBRITY within the

  meaning of 42 U.S.C. § 2000(e) et seq.

         62.     The discriminatory policies or practices of CELEBRITY, as set forth in this

  Complaint, have denied Plaintiffs and members of the class their right to equal

  employment opportunity in violation of 42 U.S.C. § 2000(e) et seq.

         63.     CELEBRITY has adopted and/or maintained a system-wide policy or

  practice of discrimination by, among other things, denying Plaintiffs and members of the

  class equal opportunities as described above.

         64.     CELEBRITY has adopted and/or maintained subjective employment

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  practices, including but not limited to, subjective and disparate practices repatriating

  employees based exclusively on their national origin. Through the apparent use of a

  “cost/benefit analysis” type approach of comparing potential costs of repatriation versus

  keep employees on board until the no-sail orders are lift later this year, to hell with their

  needs.

           65.    The embodiment of the “profits over people” concept implemented by

  CELEBRITY to intentionally withhold its employees’ wages and simultaneously deprive

  them of their ability to return home and reunite with loved ones.

           66.    Sadly, CELEBRITY determines the ability of their crew to return home and

  be freed from their illegal captivity is based entirely on their national origin.

           67.    This is clear evidence of their belief that they can act with impunity because

  of the legal gymnastics they play with their principal place of business and H.Q. in

  Miami, claims of Liberian citizenship, and operating vessels that fly under the flags of

  Liberia, Malta, Panama, and the Bahamas.

           68.    By reason of CELEBRITY's discriminatory policies or practices as set forth in

  this Complaint, Plaintiff and members of the class have suffered damages including, but not

  limited to, lost income, lost benefits, embarrassment, emotional distress, physical injury,

  humiliation, indignity and a reduced quality of life, since the discrimination began and into

  the future.

        Wherefore, the plaintiffs demand judgment for all damages recoverable under the

  law   against     the   Defendant       CELEBRITY,   including    compensatory      damages,

  injunctive/equitable relief prayed for in Count II, their costs, including attorneys’ fees

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  and experts’ fees, punitive damages based on the intentional nature of CELEBRITY’s

  conduct to the maximum extent allowed under the law, and for any other relief the Court

  determines reasonable and just.

                                          COUNT IV
                                   JONES ACT NEGLIGENCE
                                 [CLASS & INDIVIDUAL CLAIM]

         69.      Plaintiffs re-allege, incorporate by reference, and adopt paragraphs 1

  through 45 above as though originally alleged herein.

         70.      At all times material hereto, it was the duty of Defendant to provide

  Plaintiffs with a reasonably safe place to work.

         71.      At all times material hereto, Defendant and/or its agents’, servants’, and/or

  employees’ acts and/or omissions caused, contributed and/or played a substantial part

  in bringing about Plaintiffs’ injuries and/or death for reasons that include, but are not

  limited to, the following:

               a. Failure to use reasonable care to provide Plaintiffs with a reasonably safe
                  place to work aboard the subject vessels to which they were assigned;
               b. Failure to reasonably examine all individuals whom Defendant permitted
                  to board the vessels to determine whether any of them exhibited symptoms
                  consistent with a positive COVID-19 diagnosis, including, but not limited
                  to, determining whether any individual permitted to board the vessels
                  exhibited symptoms of fever, cough, and/or shortness of breath;
               c. Failure to timely enact fleetwide vessel social distancing measures,
                  including, but not limited to a requirement that all shipboard individuals
                  maintain separation of at least six (6) feet;
               d. Failure to reasonably test all individuals whom Defendant permitted to
                  board its cruise vessels, including, but not limited to, the Celebrity Apex for
                  COVID-19;
               e. Failure to monitor the mental and physical health of the Plaintiffs
                  throughout the time they were held captive aboard the vessel after the
                  CDC’s March 14, 2020 no-sail Order, and further, after Defendant made the
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                  unilateral determination to withhold payment of wages despite their crews’
                  inability to disembark their ships;
               f. Failure to reasonably and/or timely identify passengers and/or
                  crewmembers who recently traveled to COVID-19 high risk/exposure
                  locations before permitting them to board the vessels;
               g. Failure to adequately warn crewmembers before they boarded the vessels
                  and/or anytime during cruising aboard the vessels that a passenger(s) on a
                  prior cruise showed symptoms and/or tested positive for COVID-19;
                  and/or
               h. Failure to sufficiently warn crewmembers working aboard the vessels of
                  the dangers and/or risks of COVID-19 and/or other related infectious
                  disease, including, but not limited to, failing to inform the crewmembers of
                  the extent of the prior COVID-19 outbreaks and/or risks and/or symptoms
                  aboard the vessels;
               i. Failure to reasonably educate crewmembers working aboard the vessels as
                  to the explosive contagiousness of COVID-19, including but not limited to
                  explaining to crewmembers ways they can reduce and/or eliminate their
                  exposure to COVID-19 aboard the vessels;
               j. Failing to practice safe and sanitary food practices aboard the vessels;
               k. Failure to provide sanitary vessels upon which Plaintiffs were assigned to
                  work so as to prevent outbreaks of COVID-19 and/or virus and/or
                  infectious diseases, including, but not limited to, Defendant’s
                  inadequate and/or ineffective cleaning/sanitary procedures and/or
                  lack of equipment and supplies;

               r. Failure to equip the vessels and/or provide crewmembers with a sufficient
                  amount cleaning and/or disinfectant equipment and/or personal
                  protective equipment; and/or

               s. Failure to man the vessel with a sufficient number of competent
                  crewmembers responsible for cleaning and/or disinfecting the ship in view
                  of the ongoing COVID-19 pandemic.

         72.      The above acts and/or omissions caused and/or contributed to Plaintiffs to

  suffer mental anguish and emotional distress.

         73.      At all times material hereto, Defendant knew or should have known of the

  that the conditions on boards its vessels described in paragraph 70 above which caused


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  and/or resulted in Plaintiffs’ injuries and suffering yet did nothing correct them.

         74.     In the alternative, the foregoing conditions referenced in paragraph 47

  existed for a sufficient length of time so that Defendant, in the exercise of reasonable care

  should have learned of them and corrected them.

         75.     As a result of Defendant’s negligence, Plaintiffs became more susceptible

  and/or vulnerable to other illness and/or medical conditions, including pre-existing illness

  and/or medical conditions, and were injured about their bodies and/or extremities.

  Plaintiffs also suffered physical pain and suffering, mental anguish, future physical and

  medical problems and/or the reasonable fear of developing future physical and medical

  problems. Plaintiffs also lost enjoyment of life, and suffered physical and/or functional

  disability, physical and/or functional impairment. Plaintiffs were also inconvenienced in

  the normal pursuits and pleasures of life and suffered from feelings of economic insecurity

  caused their mental suffering, injuries and distress. Plaintiffs also incurred medical expenses

  in the care and treatment of their injuries, suffered physical handicap, lost wages, income

  lost in the past, and their working abilities and/or earning capacities have been impaired.

  Plaintiffs injuries and damages are permanent or continuing in nature, and they will suffer

  these losses and impairments in the future.

         WHEREFORE, PLAINTIFFS and others similarly situated demand judgment for

  all damages recoverable under the law against the Defendant and demand trial by jury.




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                                           COUNT V
                                    UNSEAWORTHINESS
                                 [CLASS & INDIVIDUAL CLAIM]

         76.      Plaintiffs re-allege, incorporate by reference, and adopt paragraphs 1

         through 45 above as though originally alleged herein.

         77.      At all times material hereto, Defendant had an absolute and non-delegable

  duty to maintain the vessels on which Plaintiffs served in a seaworthy condition.

         78.      At all times material hereto, Defendant’s vessels were unseaworthy and

  such unseaworthiness were a legal cause of injury and damage to the Plaintiffs by reason

  that include, but are not limited to, the following:

               a. The vessels were not reasonably fit for their intended purposes;


               b. The vessels’ crew was not reasonably fit for the vessels’ intended purpose;

               c. The CDC’s no sail order in light of the cruise industry’s role in facilitating
                  the worldwide spread of the pandemic is per-se evidence that no vessel in
                  Defendant’s fleet was in a seaworthy state due to the ubiquitous nature of
                  the virus on board ships in Defendant’s fleet;

               d. The vessels were negligently designed insofar as their inability to undertake
                  or effectuate reasonable precautionary measures to impede or slow the
                  spread of contagions once present on board; which resulted in all vessels in
                  Defendants’ fleet, as well as the rest of the global cruise fleet, being a
                  catalyst for the virus’s spread across the globe, and not coincidentally,
                  exposing passengers and crew in the process;

               e. The vessels failed to have and/or enforce means to reasonably restrict
                  individuals’ access to the vessels (including, but not limited to
                  CELEBRITY’s passengers and crew that were possibly or definitively
                  exposed to the novel coronavirus, and CELEBRITY actually or
                  constructively knew of the dangerous conditions aboard its vessels;

               f. The vessels failed to have and/or enforce means to reasonably examine all
                  individuals whom Defendant permitted to board the vessels to determine
                  whether any of them exhibited symptoms consistent with a positive
                  COVID-19 diagnosis, including, but not limited to, determining whether
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                  any individual permitted to board the vessels exhibited symptoms of fever,
                  cough, and/or shortness of breath;

               g. The vessels failed to have and/or enforce means to timely enact vessel-wide
                  social distancing measures, including, but not limited to a requirement that
                  all shipboard individuals maintain separation of at least six (6) feet;

               f. The vessels failed to have and/or enforce means to timely quarantine those
                  passenger and/or crewmembers whom Defendant reasonably suspected
                  had contracted COVID-19;

               g. The vessels failed to have and/or enforce means to reasonably and/or
                  timely identify passengers and/or crewmembers who recently traveled to
                  COVID-19 high risk/exposure locations;

               h. The vessels failed to have and/or enforce means to reasonably test all
                  individuals whom Defendant permitted to board the vessels for COVID-19
                  and/or those with classic COVID-19 symptoms;

               i. The vessels failed to have and/or enforce means to reasonably educate
                  crewmembers as to the explosive contagiousness of COVID-19, including
                  but not limited to explaining to crewmembers ways they can reduce and/or
                  eliminate their exposure to COVID-19 aboard the vessels;

               j. The vessels failed to have and/or enforce adequate policies and procedures
                  in place to manage and contain the outbreak and spread of COVID-19
                  and/or virus and/or infectious disease;

               k. The vessels were not sanitary to the extent necessary to prevent outbreaks
                  of COVID-19 and/or virus and/or infectious diseases, including, but not
                  limited to, their inadequate and/or ineffective cleaning/sanitary
                  procedures and/or lack of equipment and supplies;

               l. The vessels were not equipped with a sufficient amount of cleaning and/or
                  disinfectant equipment and/or personal protective equipment; and/or

               m. The vessels were not manned with a sufficient number of competent
                  crewmembers responsible for cleaning and/or disinfecting the ship in view
                  of the ongoing COVID-19 pandemic.

         79.      The above acts and/or omissions caused and/or contributed to Plaintiffs

  and others similarly situated aboard Defendants’ vessels to sustain personal injuries.


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         80.     At all times material hereto, Defendant knew or should have known of the

  foregoing conditions which caused and/or resulted in Plaintiffs’ injuries and/or death

  and did not correct them. In the alternative, the foregoing conditions existed for a

  sufficient length of time so that Defendant, in the exercise of reasonable care should have

  learned of them and corrected them.

         81.     As a result of the unseaworthiness of the vessels, Plaintiffs were injured

  physically, mentally and emotionally; became more susceptible and/or vulnerable to

  other physical injury, illness and/or medical conditions, including aggravation of pre-

  existing illness and/or medical conditions, and were injured about their bodies and/or

  extremities. Plaintiffs also suffered physical pain and suffering, mental anguish, reduced

  lung function and/or capacity, future physical and medical problems (including but not

  limited to reduced lung function and/or capacity) and/or the reasonable fear of

  developing future physical and medical problems. Plaintiffs also lost enjoyment of life,

  and suffered physical and/or functional disability, physical and/or functional

  impairment. Plaintiffs were also inconvenienced in the normal pursuits and pleasures of

  life and suffered from feelings of economic insecurity caused by disability, disfigurement.

  Plaintiffs also suffered aggravation of any previously existing conditions, incurred

  medical expenses in the care and treatment of their injuries, suffered physical handicap,

  lost wages, income lost in the past, and their working abilities and/or earning capacities

  have been impaired. Plaintiffs injuries and damages are permanent or continuing in

  nature, and they will suffer these losses and impairments in the future.



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         WHEREFORE, Plaintiffs and others similarly situated demand judgment for all

  damages recoverable under the law against the Defendant and demand trial by jury.

                                    COUNT VI
                  FAILURE TO PROVIDE MAINTENANCE AND CURE
                           [CLASS & INDIVIDUAL CLAIM]

         82.     Plaintiffs re-allege, incorporate by reference, and adopt paragraphs 1

  through 45 above as though originally alleged herein.

         83.     Plaintiffs have been injured emotionally and physically over the course of

  the last three months as a result of CELEBRITY’s intentional discrimination due to their

  national origins.

         84.     Under the General Maritime Law, Plaintiffs, as seamen, are entitled to m

  medical treatment for injuries, ailments or maladies that manifest during the course of their

  service on a vessel pursuant to the centuries old mandate that vessel operators assist their

  employees return to full strength, or as close thereto as medically possible, for their

  shipboard medical conditions they sustained.

         85.     They are entitled to recover maintenance and cure from Defendant, their

  employer, until they are declared to have achieved Maximum Medical Improvement

  (MMI) and/or Maximum Medical Cure (MMC). Maintenance and cure include unearned

  wages (regular wages, overtime, vacation pay and tips), which the seamen reasonably

  anticipated to earn through the end of the contract or voyage, whichever is longer. In

  addition, an MMI declaration must be unequivocal, and if not, any doubts or controversy

  regarding whether the seaman is at MMI must be resolved in the seaman’s favor.

         86.     To date, no medical professional has declared that any Plaintiff has

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  achieved MMI, and all Plaintiffs are therefore entitled to receive from Defendant medical

  treatment from physicians of their choice and daily maintenance payments until they a

  medical professional declares each of them, respectively, at MMI.

         87.     At all times material hereto, Defendant willfully and/or callously delayed,

  failed and/or refused to provide Plaintiffs with their full entitlement to maintenance and

  cure, and/or Defendant willfully and/or callously delayed, failed and/or refused to

  provide the Plaintiffs the level of medical treatment and/or maintenance they require to

  recover from conditions they have acquired either through new injuries or illness, or

  aggravation of preexisting injuries or maladies, can no longer reasonably support

  themselves as they convalesce, such that Plaintiffs have become obligated seek the

  undersigned’s legal services and pay the undersigned a reasonable attorney’s fee.

         88.     At all times material hereto, Defendant’s failure to provide Plaintiffs the

  entire maintenance and cure they are due has been willful, arbitrary, capricious, in

  violation of the law, and/or in callous disregard for Plaintiffs’ right as seamen. As such,

  Plaintiffs would be entitled to recover their attorneys’ fees from Defendant under the

  General Maritime Law of the United States and potentially punitive damages.

         89.     At all times material hereto, Defendant’s unreasonable and/or callous

  failure to pay or provide Plaintiffs with maintenance and cure aggravated Plaintiffs’

  conditions and caused them to suffer additional compensatory damages, including, but

  not limited to, the aggravation of their physical condition, disability, pain and suffering,

  reasonable fear of developing future physical and medical problems, mental anguish, loss



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  of enjoyment of life, feelings of economic insecurity as well as lost earnings or earning

  capacity, and medical and hospital expenses in the past and into the future.

         WHEREFORE, Plaintiffs and others similarly situated demand judgment for all

  damages recoverable under the law against the Defendant and demand trial by jury.

                              COUNT VII
     FAILURE TO PROVIDE PROMPT, PROPER & ADEQUATE MEDICAL CARE
                      [CLASS & INDIVIDUAL CLAIM]

         90.      Plaintiffs re-allege, incorporate by reference, and adopt paragraphs one (1)

  through forty-five (45) above as though originally alleged herein.

         91.      At all times material hereto, Defendant had an absolute and non-delegable

  duty to provide Plaintiffs with prompt, proper, and adequate medical care.

         92.      At all times material hereto, Defendant, through its employees, agents, the

  shipboard and/or shoreside physicians and/or nurses, negligently failed to provide

  Plaintiffs with prompt, proper, and adequate medical care. Defendant’s acts and/or

  omissions, as outlined below, caused, contributed and/or played a substantial part in

  bringing about Plaintiffs’ injuries and damages. Defendant’s negligent acts/omissions

  include, but were limited to:


               a. Failure to promptly, properly, and adequately diagnose and/or treat
                  Plaintiffs’ once Defendant became aware of their symptoms and/or
                  diagnoses;

               b. Failure to select, retain and/or utilize competent, skilled and properly
                  trained medical care providers on board the vessel and shoreside to provide
                  Plaintiffs with prompt, proper and adequate medical care;

               c. Failure to utilize proper and adequate medical equipment with which to
                  provide Plaintiffs proper and adequate medical care;


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               d. Failure to properly medically manage Plaintiffs’ medical infirmities and
                  injuries once Defendant became aware of their symptoms and/or
                  diagnoses;

               e. Failure to timely disembark Plaintiffs to provide them prompt, proper, and
                  adequate medical treatment ashore without delay;

               f. Defendant’s failure to reimburse and/or failure to timely reimburse
                  Plaintiffs for their out-of-pocket medical expenses;

               g. Defendant failure to authorize and/or failure to provide Plaintiffs with
                  prompt shoreside medical care; and/or

               h. Defendant prematurely terminating Plaintiffs’ medical care before they
                  achieved MMI and/or MMC.
         93.      The above acts and/or omissions caused and/or contributed to Plaintiffs

  and others similarly situated aboard Defendants’ vessels to contract COVID-19 and/or

  other virus and/or medical complications, sustain personal injuries and/or death.

         94.      At all times material hereto, Defendant knew or should have known of the

  foregoing conditions which caused and/or resulted in Plaintiffs’ injuries and/or death

  and did not correct them. In the alternative, the foregoing conditions existed for a

  sufficient length of time so that Defendant, in the exercise of reasonable care should have

  learned of them and corrected them.

         95.      As a direct and proximate result of Defendant’s acts and/or omissions, as

  outlined above, Plaintiffs suffered additional pain, disability and/or their recovery was

  prolonged. In addition, Plaintiffs became more susceptible and/or vulnerable to other

  illness and/or medical conditions, including pre-existing illness and/or medical

  conditions, and were injured about their bodies and/or extremities. Plaintiffs also

  suffered physical pain and suffering, mental anguish, future physical and medical

  problems, loss of the joy of life, and suffered physical and/or functional disability,
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  physical and/or functional impairment. Plaintiffs were also inconvenienced in the

  normal pursuits and pleasures of life and suffered from feelings of economic insecurity

  caused by disability, disfigurement. Plaintiffs also suffered aggravation of any previously

  existing conditions as a result of Defendant’s actions, incurred medical expenses in the

  care and treatment of their injuries, suffered physical handicap, lost wages, income lost

  in the past, and their working abilities and/or earning capacities have been impaired..

  Plaintiffs injuries and damages are permanent or continuing in nature, and they will

  suffer these losses and impairments in the future.

         96.     This Count is alleged separately from Jones Act negligence asserted above

  pursuant to Joyce v. Atlantic Richfield Company, 651 F. 2d 676 (10th Cir. 1981), which states,

  in part, “Negligent failure to provide prompt medical attention to a seriously injured

  seaman gives rise to a separate claim for relief [for which separate damages are

  awardable].”

         WHEREFORE, Plaintiffs and others similarly situated demand judgment for all

  damages recoverable under the law against the Defendant and demand trial by jury.

                                 COUNT VIII
               WAGES AND PENALTIES PURSUANT TO 46 U.S.C. § 10313
                         [CLASS & INDIVIDUAL CLAIM]

         97.     Plaintiffs re-allege, incorporate by reference, and adopt paragraphs one (1)

  through forty-five (45) above as though originally alleged herein.

         98.     At all times material hereto, Plaintiffs were employed as a seaman in the

  service of the vessel.

         99.     While in the service of the ship, Plaintiffs performed all the work required

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  of them, and carried out the orders given their superiors.

         100.    Plaintiffs were discharged without any just or sufficient cause. At the time

  of Plaintiffs‘ discharge, the vessel was, and remains in, a port of the United States.

         101.    At the time of Plaintiffs discharge, Defendant did not pay Plaintiff all

  of their earned wages, including reimbursement of deductions previously made of

  Plaintiffs’ wages. Defendant has sole custody and control of Plaintiffs wage

  records and personnel files. These documents are needed by Plaintiff to review to

  show exact dates and amounts with respect to earned wages owing to Plaintiff and

  deductions made from such earned wages.

         102.    At the time of Plaintiffs’ discharge, Plaintiff demanded all their wages,

  including reimbursement of deductions made from Plaintiff s earned wages.

         103.    Defendant refused to pay Plaintiffs all their earned wages or reimburse

  Plaintiffs for the deductions made there from, without sufficient cause.

  104. Under 46 U.S.C.A. Section 10313, Plaintiff is entitled to his earned wages,

  deductions, and two days wages for each day payment is delayed.

         WHEREFORE, Plaintiff demands all damages entitled to by law, attorney's fees,

  prejudgment and post-judgment interest, costs and demands jury trial of all issues so

  triable.




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         Respectfully submitted this on this 21st day of MAY, 2020.


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